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Draughon, Dwight (USAMD)

From:                            Gar Robbins
Sent:                            Wednesday, October 7, 2020 2:28 PM
To:                              Draughon, Dwight (USAMD); Baldwin, Joseph (USAMD); Rick Finci
Subject:                         United States v. Pobre-19-CR-00348
Attachments:                     Mark Lanterman CV.pdf; entry of appearance 20201007.pdf



Good Afternoon Mssrs. Draughon and Baldwin -

Rick Finci has asked me to join him on this case for the discovery motion currently pending. I will file the
attached entry of appearance this afternoon.

The defense has engaged a computer expert, Mark Lanterman, from whom an affidavit was anticipated;
however, it has not yet arrived. If there is no affidavit in time for the hearing, we will anticipate calling Mr.
Lanterman as a witness on Friday to explain to the Court why examination of the source code will be important
to his ultimate conclusions about the Levine Network Investigative Technique ["LNIT"].

While it is impossible to know what one does not know, we expect that the source code will contain evidence
that is material to the Defense for three reasons: 1) LNIT, as deployed in this case, was a Fourth Amendment
search without benefit of a warrant; 2) LNIT, as deployed, is inherently unreliable and not an appropriate basis
for a warrant application; 3) LNIT assembles data constituting exculpatory Brady with respect to the unknowing
presence of files on a computer serving as a node on the FreeNet.

The source code of the LNIT, as deployed, is essential to ascertaining the facts at issue and not just the theoretic
underpinnings that the Government and its expert believe support the validity of the LNIT reported results.

I'm trying to quickly come up to speed on the discovery issues and I look forward to working with you.

Sincerely,
Gar

G Arthur Robbins

Chesapeake Meridian




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